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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE   AND      D EADLINE INFORMATION



Civil Action No.: 2:20-cv-00055-RWS
Name of party requesting extension: Defendants City of Waskom, et al.
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: Waived
Number of days requested:                        30 days
                                              15 days
                                                    22 days
                                            ✔ Other _____
New Deadline Date: 5/29/2020                     (Required)


A TTORNEY FILING       APPLICATION INFORMATION




            Full Name: Jonathan F. Mitchell
            State Bar No.: 24075463
            Firm Name: Mitchell Law PLLC
            Address: 111 Congress Avenue, Suite 400
                         Austin, Texas 78701


            Phone: (512) 686-3940
            Fax: (512) 686-3941
            Email: jonathan@mitchell.law
                  A certificate of conference does not need to be filed with this unopposed application.
